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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

CHARLES K. WILSON,

 

Petitioner,
V. 18-CV-192 (JLS) (HBS)

HAROLD GRAHAM,
SUPERINTENDENT,

Respondent.

 

DECISION AND ORDER

On January 29, 2018, pro se Petitioner Charles K. Wilson filed this Petition
for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254. Dkt. 1. On May 28, 2019,
Respondent answered the Petition and also filed a memorandum in opposition to
the Petition. Dkts. 16, 17. In reply, Wilson submitted a “Traverse for Writ of

Habeas Corpus,” which was filed on February 12, 2020. Dkt. 29.

On July 30, 2019, this Court! referred this case to United States Magistrate
Judge Hugh B. Scott for all proceedings under 28 U.S.C. § 636(b)(1)(A) and (B).
Dkt. 18. On September 18, 2020, Judge Scott issued a Report and

Recommendation, recommending that this Court dismiss the Petition. Dkt. 30.

 

' Judge Vilardo was originally assigned to this case and made the referral to
Magistrate Judge Scott. On January 6, 2020, this case was reassigned to Judge
John L. Sinatra, Jr. Dkt. 28.
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A district court may accept, reject, or modify the findings or recommendations
of a magistrate judge. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3). A district
court must conduct a de novo review of those portions of a magistrate judge’s
recommendation to which a party objects. 28 U.S.C. § 636(b)(1); Fed. R. Civ.

P. 72(b)(8). But neither 28 U.S.C. § 636 nor Federal Rule of Civil Procedure 72
requires a district court to review the recommendation of a magistrate judge to
which no objections are raised. See Thomas v. Arn, 474 U.S. 140, 149-50 (1985).

Although not required to do so in light of the above, this Court nevertheless
has reviewed Judge Scott’s R&R. Based on that review and the absence of any
objections, the Court accepts and adopts Judge Scott’s recommendation to dismiss
Wilson’s Petition.

CONCLUSION

For the reasons stated above and in the R&R, the relief sought in Wilson’s

Petition for Writ of Habeas Corpus (Dkt. 1) is DENIED and the Petition for Writ of

Habeas Corpus is DISMISSED. The Clerk of the Court shall close the file.

W 4 P:

SOHNE, SINATRA, JR(
UNITED STATES DISTRICT JUDGE

SO ORDERED.

Dated: October 15, 2020
Buffalo, New York

   
  

  

 
